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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                             ORDER
                           Plaintiff,
                                                             06-cr-93-jcs
             v.

MARTEZ D. FORD,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                             ORDER
                           Plaintiff,
                                                             06-cr-16-bbc
             v.

LAMOUNT WILLIAMS,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
UNITED STATES OF AMERICA,
                                                             ORDER
                           Plaintiff,
                                                             06-cr-105-bbc
              v.

GEORGE E. TAYLOR,



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                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
       These are three cases in which defendants were sentenced for distribution of crack

cocaine before the United States Supreme Court decided Kimbrough v. United States, 128

S. Ct. 558 (2007). In all three cases, the defendants were sentenced under the prevailing

understanding in this circuit that the sentencing judge could not give a below-guidelines

sentence solely because the judge disagreed with the disparity in sentencing between crack

offenses and powder cocaine offenses. United States v. Miller, 450 F.3d 270, 275 (7th Cir.

2006). (In one of the cases, United States v. Martez D. Ford, Judge John C. Shabaz was the

sentencing judge. In his absence on medical leave, I will be handling his cases.)

       After Kimbrough, it is clear that Miller was incorrect in precluding judges from

considering the disparities between crack and powder cocaine sentences when imposing a

sentence on a particular defendant. Because these cases were on appeal when Kimbrough

was decided, the rule announced in that case applies to them. And, because in all of these

cases, the sentencing judge did not say whether a different sentence would have been

imposed had the judge had the benefit of the Kimbrough opinion, each of the cases has been

remanded for reconsideration of the sentence.

       In conformity with the court of appeals’ opinion in United States v. Taylor, 06-143

(7th Cir. Mar. 26, 2008), each of the defendants will be given an opportunity to file a



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motion for resentencing. With respect to any defendant who files such a motion, I will

determine whether to reduce his sentence under the new guidelines promulgated by the

Sentencing Commission. If I decide not to reduce a defendant’s sentence under those

guidelines or if I do reduce the sentence but the re-sentenced defendant thinks that 18

U.S.C. § 3553(a) would warrant a still lower sentence, that defendant will have an

opportunity to be heard before I advise the court of appeals whether I would be inclined to

reduce his sentence now that I have the flexibility to do so under Kimbrough. In the case

of any defendant who does not file a motion, I will make an independent decision whether

to reduce his sentence to conform to the new guidelines for crack cocaine before advising the

court of appeals whether I would be inclined to lower his sentence still further.




                                          ORDER

       IT IS ORDERED that defendants Martez D. Ford, Lamount D. Williams and George

E. Taylor may have until April 25, 2008, in which to file a motion for a new sentence.

       Entered this 7th day of April, 2008.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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                                    In the
         United States Court of Appeals
                      For the Seventh Circuit
                                ____________

        No. 06-4123
        UNITED STATES OF AMERICA,
                                                       Plaintiff-Appellee,

                                       v.

        GEORGE E. TAYLOR,
                                                   Defendant-Appellant.
                                ____________
                   Appeal from the United States District Court
                       for the Western District of Wisconsin.
                   No. 06 CR 105—Barbara B. Crabb, Chief Judge.
                                ____________
            ARGUED JANUARY 24, 2008—DECIDED MARCH 26, 2008
                                ____________



          Before POSNER, RIPPLE, and TINDER, Circuit Judges.
          POSNER, Circuit Judge. George Taylor pleaded guilty to
        distribution of crack cocaine and was sentenced to 124
        months in prison. His appeal presents the recurring issue
        of the proper treatment of crack sentencing appeals that
        were pending when the Supreme Court decided Kimbrough
        v. United States, 128 S. Ct. 558 (2007). Taylor objects to his
        sentence on the ground that the district judge in sentencing
        him did not have the benefit of the Supreme Court’s
        decision. The government points out that our review is for
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        plain error because no objection to the sentence based on
        the 100:1 ratio of the weight of crack cocaine to the weight
        of powder cocaine, used in the sentencing guidelines, was
        made in the district court. The government further argues,
        but this time incorrectly, that because the district judge
        evinced no unhappiness with the guideline range that the
        ratio generated, there is no ground for ordering Taylor
        resentenced.
          Before the Supreme Court’s decision, the rule in this
        court was that the 100:1 ratio was a statutory Diktat that a
        sentencing judge was not permitted, even under the
        liberalized regime of the Booker decision, to question. Even
        “after Booker district judges are obliged to implement the
        100-to-1 ratio as long as it remains part of the statute and
        the Guidelines . . . .[D]efendants are not entitled to a
        deviation from the statutory ratio . . . . [D]istrict judges
        must continue to carry out the legislative choice, even
        though there may be powerful reasons for change.” United
        States v. Miller, 450 F.3d 270, 275 (7th Cir. 2006). “[A]
        district judge is required to abide by the 100-to-1 crack
        cocaine to cocaine powder ratio when applying the Sen-
        tencing Guidelines to a defendant’s conduct; . . . . [A]
        sentencing judge may not recalculate a Guidelines sentence
        or impose a lesser, non-Guidelines sentence based on his
        opinion that the statutory and/or Guidelines disparity
        between punishments for crack cocaine and powder
        cocaine is unjust or unwarranted.” United States v. Hankton,
        463 F.3d 626, 629 (7th Cir. 2006). Because the guidelines
        were advisory, the sentencing judge could dip below them
        in a crack case as in any other case (provided the judge did
        not try to go below a mandatory minimum sentence),
        United States v. Miller, supra, 450 F.3d at 275, but not on the
        basis of a disagreement with the weighting of crack versus
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        powder; that we thought a decision that Congress, either
        directly or by delegation to the Sentencing Commission,
        had removed from the area of judicial discretion, just as
        Congress does when it fixes minimum and maximum
        sentences.
          In Kimbrough, the Supreme Court (as the government
        acknowledges in a post-argument submission in the
        present case) held that this was incorrect; that the 100:1
        ratio is not a statutory dictate, but merely a judgment,
        entitled to respect but not to uncritical acceptance, made by
        the Sentencing Commission as an input into fixing guide-
        line ranges for crack offenders. 128 S. Ct. at 574; see also
        United States v. Medina Casteneda, 511 F.3d 1246, 1248-49
        (9th Cir. 2008); United States v. Pauley, 511 F.3d 468, 472-
        73 (4th Cir. 2007).
          Even before Kimbrough, a sentencing judge could if he
        wanted rail against the 100:1 ratio, but that would have
        been spitting against the wind, since we had held that the
        ratio was not to be questioned by sentencing judges. Thus
        the fact that a judge—the judge in this case for exam-
        ple—does not say anything about the ratio cannot be taken
        to mean that he (in this case she) thinks it is fine. The
        situation is the same as we faced after the Supreme Court
        in Booker demoted the sentencing guidelines from being
        mandatory to being merely advisory. Since until then they
        had been mandatory, the fact that a sentencing judge gave
        a sentence within the applicable guideline range without
        questioning the appropriateness of such a sentence did not
        mean that, had he known that the guidelines were merely
        advisory, he would have given the same sentence. So in
        such cases, where the defendant had been sentenced before
        Booker and his appeal from the sentence was pending after
        Booker, unless the judge had made clear that he would have
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        given the same sentence under an advisory regime we
        directed a limited remand to enable the judge to advise us
        whether he was minded to resentence the defendant, and
        if he said he was then we remanded for resentencing. We
        pointed out that a sentence founded on a clear error of law
        was appropriate for correction on review for plain error.
          That was United States v. Paladino, 401 F.3d 471, 481-84
        (7th Cir. 2005), and its approach (including, as held in
        United States v. White, 2008 WL 585036, at *6 (7th Cir.
        Mar. 8, 2008), the “unless” qualification) is equally ap-
        plicable in the present setting. As the Eighth Circuit,
        adopting an approach similar to ours, has explained,
        “Normally, a district court that is aware of an argument
        does not abuse its discretion by not considering it. When a
        district court does not consider an argument because it is
        unaware of its power to do so, however, a remand is
        appropriate. See, e.g., United States v. Lewis, 249 F.3d 793,
        795 (8th Cir. 2001). In Lewis, we could not determine from
        the record whether the district court was aware of its
        authority to grant a downward departure, and thus we
        remanded the case to allow the district court to exercise its
        discretion in deciding whether to grant or deny the down-
        ward departure. Id. In this case, the district court said
        nothing in either [defendant’s] sentencing hearing about
        the disparity. It is unclear whether the district court
        declined to use its discretion in the requested manner
        because of then-current Eighth Circuit precedent or
        because it did not find that the disparity warranted any
        variance from the guidelines. We therefore vacate the
        sentences and remand to the district court so that it may
        reconsider the sentences in light of Kimbrough.” United
        States v. Roberson, 2008 WL 323223, at *4 (8th Cir. Feb. 7,
        2008) (citation omitted); see also United States v. Stratton,
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        2008 WL 656514, at *1 (11th Cir. Mar. 13, 2008) (per
        curiam); United States v. Regalado, 2008 WL 577158, at *3-5
        (2d Cir. Mar. 4, 2008) (per curiam).
          A complication is that beginning on March 3, persons
        sentenced for crack offenses have been able to move for a
        reduction in their sentence to conform to the Sentencing
        Commission’s decision to reduce retroactively the 100:1
        ratio that generates such harsh sentences for crack offenses
        relative to powder offenses. United States Sentencing
        Commission, “Supplement to the 2007 Guidelines Manual”
        1-4 (Mar. 3, 2008); News Release, “U.S. Sentencing Com-
        mission Votes Unanimously to Apply Amendment Retro-
        actively for Crack Cocaine Offenses” (Dec. 11, 2007),
        www.ussc.gov/PRESS/rel121107.htm (visited Jan. 28,
        2008). It might seem, in light of the Commission’s decision,
        that our remanding a case for possible resentencing in light
        of Kimbrough would be pointless, since the judge minded to
        reduce a crack defendant’s sentence could simply
        resentence under the new guideline. (Moreover, the judge
        can do this on his own initiative, or on motion by the
        director of the federal bureau of prisons, without a motion
        by the defendant. 18 U.S.C. § 3582(c).)
          But that may be incorrect. The new guideline provides
        that a sentence under it may not be lower than the new
        guidelines range, U.S.S.G. § 1B1.10(b)(2)(A) (Mar. 3, 2008),
        unless the original sentence was a nonguideline sentence,
        in which event, however, “a further reduction generally
        would not be appropriate.” Id., § 1B1.10(b)(2)(B). Like the
        rest of the guidelines, this provision may be merely
        advisory, in which event a sentence lower than the one
        prescribed by section 1B1.10(b)(2)(A) may be “consistent
        with applicable policy statements issued by the Sentencing
        Commission,” as required by 18 U.S.C. § 3582(c)(2), the
        statute granting district courts authority to reopen a
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        sentence that has become final. But the status of section
        1B1.10(b)(2)(A) has not been argued to us and we take no
        position on it. In any event, Kimbrough, following Booker,
        allows a judge to sentence below the guidelines range.
          The district judge should hold off on telling us whether
        she is minded to resentence the defendant under Kimbrough
        until she decides whether to act favorably on the defen-
        dant’s motion (if he makes one, or on the judge’s own
        initiative, if he does not) for relief under the Commission’s
        new crack regime. If she decides to impose the same
        sentence under the new guideline, or if though she lowers
        the sentence the defendant believes that 18 U.S.C. § 3553(a)
        would warrant a still-lower sentence, or if he does not
        make a proper motion for relief under the new guideline
        and she is not minded to grant such relief on her own
        initiative, she will then have to advise us whether she
        would be inclined to reduce his sentence under the dispen-
        sation granted sentencing judges by Kimbrough. To avoid
        delay, the judge should impose a deadline on the filing of
        a motion to resentence; we suggest 21 days after the date of
        this decision.
          Because this opinion lays down a rule for handling
        appeals pending in this court when Kimbrough was decided
        by the Supreme Court, we have circulated the opinion to
        the full court in advance of issuance. 7th Cir. R. 40(e). No
        judge in active service requested that the case be heard en
        banc.




                           USCA-02-C-0072—3-26-08
